                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION

                                NO. 5:21-CR-00315-(l)D

UNITED STATES OF AMERICA

               V.                               CONSENT PRELIMINARY
                                                ORDER OF FORFEITURE
SHAWN DEANDRE FRANKLIN

      WHEREAS, the above-named defendant has pleaded guilty pursuant to a

written plea agreement to Count(s) One and Two of the Criminal Information in this

matter, charging the defendant with offenses in violation of 18 U.S.C. § 1349 and 18

U.S.C. § 1028A(a)(l);

      AND WHEREAS, the defendant consents to the terms of this Order and to the

forfeiture of the property that is the subject of this Order of Forfeiture; stipulates and

agrees that he personally obtained at least $1,229,253.00 in proceeds from the

offense, and further agrees that he made the proceeds unavailable as a result of his

acts or omissions and one or more of the conditions to forfeit substitute assets exists,
                                                         '
           ,

as set forth in 21 U.S.C. § 853(p);

      AND WHEREAS, the defendant stipulates and agrees that the defendant

individually, or in combination with one or more co-defendants, has or had an

ownership, beneficial, possessory, or other legal interest in and/or exercised dominion

and control over the property that is subject to forfeiture herein;

      AND WHEREAS, the defendant knowingly and expressly agrees to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2(a), 32.2(b)(l),

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32.2(b)(4), and 43(a), including waiver of any defect respecting notice of the forfeiture

in the charging instrument or the plea colloquy; waiver of the right to a hearing to

present additional evidence respecting the forfeitability of any specific property or the

amount of any forfeiture money judgment; waiver of the right to be present during

any judicial proceeding respecting the forfeiture of the property that is the subject of

this Order of Forfeiture or to receive further notice of the same; waiver of any defect

respecting the announcement of the forfeiture at sentencing; and waiver of any defect

respecting the inclusion of the forfeiture in the Court's judgment;

      AND WHEREAS, the defendant knowingly and expressly agrees that the

provisions of this Consent Preliminary Order of Forfeiture are intended to, and shall,
               '

survive the defendant's death, notwithstanding the abatement of any underlying

criminal conviction after the entry of this Order; and that the forfeitability of any

particular property identified herein shall be determined as if defendant had

survived, and that determination shall be binding upon defendant's heirs, successors

and assigns until the agreed forfeiture, including any agreed money judgment

amount, is collected in full;

       NOW, THEREFORE, based upon the Plea Agreement, the stipulations of the

parties, and all of the evidence of record in this case, the Court FINDS as fact and

CONCLUDES as a matter of law that there is a nexus between the property listed

below and the offense(s) to which the defendant has pleaded guilty, and that the

defendant has or had an interest in the property to be forfeited,




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      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.     The following property is forfeited to the United States pursuant to Fed.

R. Crim. P. 32.2(b)(2) and 18 U.S.C. § 982(a)(2)(A):

             Forfeiture Money Judgment:

             a) A sum of money in the amount of $1,229,253.00, representing the

                gross proceeds personally obtained by the defendant as a result of

                the offenses for which he has been convicted; and an amount for

                which the defendant shall be solely liable and in satisfaction of which

                the United States may forfeit substitute assets pursuant to 21 U.S.C.

                § 853(p).

      2.     Pursuant to Fed. R. Crim. P. 32.2(b)(3) and 32.2(c)(l)(B), the United

States is authorized to conduct any discovery pursuant to the applicable Federal

Rules of Civil Procedure needed to identify, locate, or dispose of the above-referenced

property, or other substitute assets, including depositions, interrogatories, requests

for production of documents and for admission, and the issuance of subpoenas.

      3.     To the extent this Order constitutes a personal forfeiture money

judgment against the defendant, in accordance with Fed. R. Crim. P. 32.2(b)(6)(A),

the United States is not required to send or publish notice of the same, as there is no

specific property to be forfeited. However, this Order may be recorded in the records

of the Clerk of Court in any county in which the defendant resides or has either real

or personal property as a lien thereon. Pursuant to Rule 32.2(e) of the Federal Rules

of Criminal Procedure, the United States may move to amend this Order at any time


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 to forfeit other property in which the defendant has an interest, whether directly

 forfeitable or substitute assets, to satisfy this forfeiture money judgment in whole or

 in part; provided that the_net proceeds of any forfeited assets shall be credited toward

 satisfaction of the judgment upon liquidation.

       4.     Upon sentencing and issuance of the Judgment and Commitment Order,

- the Clerk of Court is DIRECTED to incorporate a reference to this Order of Forfeiture

 in the applicable section of the Judgment, as required by Fed. R. Crim. -P.

 32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), with the defendant's

 consent, this Order shall be final as to the defendant upon entry.

       5.     The Court shall retain jurisdiction to enforce this Order, and to amend

 it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       SO ORDERED, this the_!_!_ day of 1\lr)va.~ , 2021.




                                                 J  ES C. DEVER III
                                                 UNITED STATES DISTRICT JUDGE



WE ASK FOR THIS:




                                                       L J. RANDALL, IV
                                                ~~•rney for the Defendant
  Criminal Division

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